                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                          CASE NO. 3:23-CV-061-RJC-DCK

 SDS SPORTS AGENCY, LLC,                               )
                                                       )
                Plaintiff,                             )
                                                       )
    v.                                                 )    ORDER
                                                       )
 ALEJANDRO MAYORKAS, UR MENDOZA                        )
 JADDOU, U.S. CITIZENSHIP AND                          )
 IMMIGRATION SERVICES, and                             )
 KRISTINE R. CRANDALL,                                 )
                                                       )
                Defendants.                            )
                                                       )

         THIS MATTER IS BEFORE THE COURT on the “Parties’ Joint Proposed Scheduling

Order” (Document No. 18) filed on November 28, 2023, and construed by the Court as a motion.

This motion has been referred to the undersigned Magistrate Judge pursuant to 28 U.S.C. § 636(b),

and immediate review is appropriate. Having carefully considered the motion and the record, the

undersigned will grant the motion with modification.

         IT IS, THEREFORE, ORDERED that the “Parties’ Joint Proposed Scheduling Order”

(Document No. 18) is GRANTED with modification as follows: Plaintiff shall file an Amended

Complaint on or before January 5, 2023; and Defendants shall file an Answer, or otherwise

respond to Plaintiff’s Amended Complaint, on or before February 2, 2023.

         SO ORDERED.



                                Signed: November 29, 2023




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